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                                                                         Page 1
                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

             Civil No. 21-cv-1708-WJM-MDB
             ____________________________________________________
             DEPOSITION OF                          June 23, 2023
             LIEUTENANT MICHAEL INAZU
             ____________________________________________________
             ESTATE OF CHAD ALEXANDER BURNETT,
                         Plaintiff,
             vs.
             CITY OF COLORADO SPRINGS, a municipality;
             SERGEANT MICHAEL INAZU, in his individual capacity;
             OFFICER JOSEPH DAIGLE, in his individual capacity;
             OFFICER MATTHEW FLEMING, in his individual capacity;
             OFFICER CAROLINE BARTH, in her individual capacity,

                            Defendants.

             ____________________________________________________

                    The deposition of LIEUTENANT MICHAEL INAZU,
             taken before Leeann Stellor, a Registered Merit
             Reporter, Certified Realtime Reporter, and a Notary
             Public in and for the County of Summit and the State
             of Colorado, at 2701 Lawrence Street, Denver,
             Colorado, on Friday, June 23, 2023, at the hour of
             9:00 a.m.
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        1    word switch.     He kind of came in and relieved me so
        2    I could go out.
        3          Q.      I see.    And it was after that, after you
        4    were relieved there, that you would have learned
        5    about the call to Mr. Burnett's residence?
        6          A.      Correct.
        7          Q.      Can you tell me what you remember about
        8    the call and how you learned about it?
        9          A.      I was aware that there was a concern
       10    related to a citizen in that area who was
       11    experiencing some increasing mental health
       12    instability.     This had been discussed in e-mail or
       13    in a meeting with supervisors who worked in the
       14    division.     There were not a lot of specifics, more
       15    just there is a general concern here, we've
       16    responded numerous times prior, that type of
       17    information.     I --
       18          Q.      You had not been there yourself at that
       19    point, right?
       20          A.      I had not.    When the call came in, I was
       21    able to review the details on my computer.            I made
       22    the association, and then I responded as well.
       23                     MR. BOHNET-GOMEZ:       Let me mark this.
       24    I apologize.     It's not stapled, but it's only two
       25    pages.     Let's mark this Exhibit 10.
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        1                          You can answer.
        2          A.      Those included in the e-mail, as far as
        3    who it's addressed to and who are copied, are the
        4    supervisors, yes.
        5          Q.      Is there any other communication or
        6    information, other than this e-mail chain in
        7    Exhibit 10, that you were aware of about Mr. Burnett
        8    before you headed over there?
        9          A.      The information would be the prior calls
       10    for service at the residence.
       11          Q.      You had reviewed those?
       12          A.      I believe I briefly reviewed the calls in
       13    my car after the call came in, to get some
       14    foundational knowledge of how many times we had been
       15    out and what those previous incidents looked like.
       16          Q.      So you would have searched for the
       17    address and what type of calls at that address?
       18          A.      Correct.
       19          Q.      And what do you recall reviewing or
       20    learning in terms of prior calls?
       21          A.      This was a long time ago, and I know that
       22    I learned certain things after the fact.            But I
       23    believe prior to my response, I was aware that the
       24    CRT had been out.      And the notes, I believe, in the
       25    call said that Mr. Burnett refused services or
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        1    refused to communicate with them, or something along
        2    those lines.
        3                           I also recall some sort of
        4    situation where there was an individual, not
        5    Mr. Burnett, but somebody different, who was in the
        6    area, maybe knocking on neighbors' doors and perhaps
        7    had a weapon or was mentioning something about a
        8    weapon, and this was at a strange time of night
        9    maybe.     These are pretty vague recollections, but
       10    that's what I believe I remember reviewing prior to
       11    the response that day.
       12          Q.      Okay.    So that plus the information in
       13    Exhibit 10 was sort of the base of information that
       14    you arrived at the location with?
       15                     MR. LAMPHERE:       Objection.   Form.
       16                           You can answer.
       17          A.      Correct.
       18          Q.      Just so we have a clear record, you
       19    mentioned CRT.        What is CRT?
       20          A.      CRT stands for Crisis Response Team.
       21    That is the team that is a collaborative group made
       22    up of a fire department paramedic, a police officer,
       23    and then some sort of clinician or mental health
       24    service provider.
       25          Q.      What was the significance of learning
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                                                                        Page 33
        1    that CRT had been out there before, if any?
        2          A.      CRT, when responding out as a request by
        3    an officer or as a referral-type situation, when
        4    someone who's not, like, in an active moment of
        5    crisis, where there would be enough to, you know,
        6    put someone on some sort of hold, their ability to
        7    provide services is limited entirely by the level of
        8    cooperation from the individual that they're
        9    attempting to provide services to.
       10                          So in this instance, the
       11    information told me that Mr. Burnett was not wanting
       12    services, at least at the time when CRT responded.
       13          Q.      And at that prior call-out, there was not
       14    enough for an involuntary hold either?
       15          A.      I wasn't there, but that is my
       16    understanding.
       17          Q.      So we talked about the e-mails in
       18    Exhibit 10 and the prior contacts that you reviewed.
       19    Before you -- before the encounter with Mr. Burnett,
       20    did you know about any disputes Mr. Burnett may have
       21    had with his family?
       22          A.      I don't believe I was made aware of those
       23    until afterwards.
       24          Q.      And prior to the encounter with
       25    Mr. Burnett on May 24th, 2020, did you know anything
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                                                                        Page 34
        1    about his prior mental health treatment history?
        2          A.      No.
        3          Q.      Prior to the encounter with Mr. Burnett
        4    on May 24th, 2020, did you know anything about
        5    Mr. Burnett's medication history or status?
        6          A.      No.
        7          Q.      So just to back up a little bit.
        8                           You were relieved of the desk
        9    duty, right, and then you -- how did you learn of
       10    the call to the Ashgrove Street?          Did it come out
       11    over the radio?
       12          A.      Yes.   I heard it dispatched on the radio.
       13          Q.      And why did you sort of decide to look
       14    into it more?
       15          A.      My general practice, while out on the
       16    road as a supervisor, is to review the details in
       17    the call for service on my computer for any type of
       18    weapons calls or serious, more serious type of call.
       19                          So because this one, there was an
       20    allegation of weapons involvement, I pulled it up on
       21    my computer and I reviewed more of the details, more
       22    so than what was just dispatched over the air.             And
       23    that's when I made the association with the e-mails
       24    in Exhibit 10.       And because of that, I chose to
       25    respond.
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        1    to get him to come out and talk with us.
        2          Q.      How long did you spend trying to get him
        3    to come out of his house?
        4          A.      I know we left, had some other
        5    discussions, and came back.         There were periods
        6    where I was waiting for other officers to -- you
        7    know, Flaigle -- or Fleming and Daigle to fine tune
        8    some questions.      And I know we were out there for
        9    over an hour.     How much of that time we spent in
       10    verbal communication with Mr. Burnett, I have to add
       11    it all up by reviewing the camera footage.            I don't
       12    know exactly how long.
       13          Q.      What was the -- can you describe your
       14    investigation into the alleged brandishing that
       15    occurred after you arrived?
       16          A.      When I was initially briefed by Officer
       17    Daigle, my understanding was that Mr. Burnett had
       18    thrown some books out in the cul-de-sac, and the
       19    neighbor who was threatened with the knife went out
       20    to pick up the books.       And that's when Mr. Burnett
       21    took out his knife, held it over his head, and
       22    threatened to kill the neighbor.
       23                          Initially some of the specifics
       24    had not been gleaned from the victim.           And with my
       25    understanding of, you know, Mr. Burnett and that
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        1    area and that there was -- you know, the neighbors
        2    were aware that he was having some erratic behavior,
        3    I was thinking that perhaps this neighbor should
        4    have just stayed inside and not come out.            And I
        5    really wanted to get my own understanding of what
        6    happened from his perspective.         So I went to talk to
        7    him as well and asked some specific questions, which
        8    brought me to a different understanding than what
        9    had been initially communicated to me.
       10                          So the location of the incident
       11    was on the victim's property.         Mr. Burnett and the
       12    victim were within close proximity to each other,
       13    close enough to where had Mr. Burnett chose to
       14    attack the victim with a knife after threatening to
       15    kill him, he would have had every opportunity to do
       16    so and potentially kill him.
       17                          And this led me to redirect
       18    Officer Fleming and Officer Daigle to separate the
       19    victim and his wife, because the wife was there at
       20    the time, and obtain a more detailed statement from
       21    each of them to get a better understanding of
       22    everything that transpired related to them and
       23    Mr. Burnett.
       24          Q.      So the first time the neighbors were
       25    spoken to, it was not by you.         It was by Officers
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                                                                        Page 42
        1          Q.      So I just want to make sure I understand
        2    that process for you.
        3                          So is it correct that you -- I
        4    guess I'm just confused.        Did you -- you were
        5    continuing to investigate, obviously, at that point,
        6    right?     You wanted to learn more from not only
        7    Mr. Burnett, but more specifics from the neighbors,
        8    right?
        9          A.      (Nodding head.)
       10          Q.      Is it the case that you just wanted to be
       11    sure about what was going on, or was it the case
       12    that you thought you didn't have probable cause at
       13    that point?
       14                     MR. LAMPHERE:      Objection.    Form.
       15                          You can answer.
       16          A.      There was a little bit of both at the
       17    initial stages.
       18          Q.      So is it your testimony that you did
       19    believe you had probable cause initially and just
       20    wanted to investigate more, to firm that up?
       21                     MR. LAMPHERE:      Objection.    Form.
       22                          You can answer.
       23          A.      On a very fundamental level, based only
       24    on the statement initially made by the victim to
       25    Officer Daigle, I could articulate probable cause in
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                                                                        Page 43
         1    my head.    I did not feel like I was satisfied with
         2    enough information.      I wanted to learn more.
         3                          I also, in my head and verbally,
         4    talked about mitigating-type circumstances that
         5    might be a reason why probable cause might not be
         6    there.     So as stated before, I wanted to keep my
         7    options open and not put myself in an outcome
         8    biased-type situation by saying yes, we do or, no,
         9    we don't have probable cause at the early stages of
       10     the investigation.
       11           Q.     So it was your judgment that you might
       12     learn more facts through further investigation that
       13     would, as you said, mitigate or eliminate the
       14     probable cause that you believed was present?
       15                      MR. LAMPHERE:     Form.
       16                           You can answer.
       17           A.     Correct.    Probable cause can be somewhat
       18     fluid, and there are definitely all sorts of new
       19     evidence that can be found or introduced during an
       20     investigation, which can change things.           And we all
       21     know this and experience this not just as police
       22     officers, but this happens.
       23           Q.     So you -- just in sum.        You wanted to
       24     learn more to satisfy yourself that this was
       25     something you should act on; is that fair?
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         1                          I had no intent of leaving him
         2    there in the cul-de-sac or in his residence, you
         3    know, if we could avoid it.
         4           Q.     Did you communicate to him at some point
         5    that you intended to cite him for the -- for the
         6    damage charge?
         7                     MR. LAMPHERE:     Objection.     Form.
         8                          You can answer.
         9           A.     My implication, when I said, "Come get
       10     your ticket," was that he was going to get a ticket
       11     for damage.     I don't specifically recall whether I
       12     said come get your ticket for damage, or something
       13     along those lines.
       14            Q.    He did not come get his ticket, correct?
       15            A.    He did not.
       16            Q.    And what did you do next?
       17            A.    I honestly am not sure at this point
       18     where we were, if I had talked with neighbors yet or
       19     not.
       20                      MR. BOHNET-GOMEZ:      Well, why don't we
       21     cue Exhibit 9 up at 40 minutes and 50 seconds.
       22     We'll watch a little bit of it together.
       23                           (Video played.)
       24                      MR. BOHNET-GOMEZ:      We can pause it
       25     here.
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         1    and having discussions with him about, hey, what are
         2    your thoughts based on what I've heard versus what
         3    he initially told you.       And then what really kind of
         4    cemented it in my head afterwards was a conversation
         5    I had with Officer Fleming after he and Officer
         6    Daigle interviewed the couple.
         7          Q.     Tell me about that conversation.          What do
         8    you recall about that one?
         9          A.     So I know I was muted for the
       10     conversation.     I'm not sure if Fleming was or not.
       11     But I recall just really kind of his agreement with
       12     me that once we kind of parsed out the particulars
       13     of what transpired according to the victim and his
       14     wife, that we certainly did have enough to arrest
       15     Mr. Burnett and we needed to do something.
       16           Q.     So at that point you had resolved to not
       17     leave without arresting Mr. Burnett?
       18                      MR. LAMPHERE:     Objection.     Form.
       19                           You can answer.
       20           A.     I knew it was going to play out in one of
       21     several ways, or one of at least a few ways.
       22                           Either we would have an
       23     opportunity to take him into custody, or we would
       24     then have to get a warrant.        If he's locked himself
       25     inside his home, then likely the tactical team would
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         1          Q.     Do you recall what you were doing at that
         2    time?
         3          A.     I know I repositioned my vehicle in the
         4    cul-de-sac.     I had concerns that he might have a
         5    firearm because Broadmoor security mentioned it.
         6    But certainly there was nothing that told me he for
         7    sure had a firearm.      He hadn't been speaking about
         8    one to me or to any of the other officers.
         9                          But he had presented himself out
       10     in the driveway, in his lawn, with weapons.            So I
       11     was kind of keeping an eye on him to see -- you
       12     know, basically to protect everyone who was there at
       13     the time, to communicate if he were to come out and
       14     start using one of those weapons against somebody or
       15     some property.
       16                           So I positioned my vehicle to have
       17     that barrier, some sort of barrier, but also then to
       18     be available, were he to present himself with a
       19     firearm, to have some shielding.         The cruiser itself
       20     has a ballistic shield, and then the engine block is
       21     a pretty good cover.       And then I also readied my
       22     patrol rifle, were it to turn into the type of
       23     situation where he -- you know, where he exited the
       24     residence with a firearm.
       25           Q.     So while you do those things, Officers
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         1    point and would have to come out further from his
         2    house?
         3          A.     Correct.
         4          Q.     At what point do you call for additional
         5    officers?
         6                     MR. LAMPHERE:     Objection.      Form.
         7                          You can answer.
         8          A.     Sometime after repositioning my vehicle,
         9    while Officer Fleming and Officer Daigle were
       10     interviewing the couple, I called for an additional
       11     officer.
       12           Q.     Okay.    So you had called for backup and
       13     repositioned in front of Mr. Burnett's house.              Can
       14     you walk me through what you recall happening next?
       15           A.     I'm out there for a little while by
       16     myself.    Officer Barth shows up.       I brief her on the
       17     situation and task her with being the person to use
       18     the taser if he presents himself and we're safe to
       19     do so and, you know, if -- if it's required based on
       20     his behaviors.
       21                           You know, clearly if he were to
       22     just walk out and say, "Okay.         All right.    We're
       23     good.    I'll come with you guys," you know, nothing
       24     along those lines would happen.
       25                           But if his behavior were to
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         1    your continuing training after that?
         2          A.     Yes.
         3          Q.     How often?
         4                     MR. LAMPHERE:     Objection.     Form.
         5                          You can answer.
         6                          Foundation too.
         7          A.     There's not necessarily a specific
         8    schedule.    Warrantless entries come up as a topic of
         9    conversation as situations are encountered in your
       10     work as a police officer.        And there's typically
       11     some discussion about the exceptions; and not just
       12     the exceptions, but even if there is an exception,
       13     is this the right choice to make.
       14           Q.     And so those are -- those discussions,
       15     are those informal discussions about cases that
       16     you're involved with?
       17           A.     Mostly, yes.
       18           Q.     Was the -- was training on warrant
       19     exceptions ever part of the formal continuing
       20     training that you received?
       21                      MR. LAMPHERE:     Objection.
       22     Foundation.
       23                           You can answer.
       24           A.     Perhaps.    But I can't recall specifically
       25     any trainings.
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         1          Q.     And as you said, you don't know what
         2    Mr. Burnett understood or didn't understand about
         3    being under arrest, correct?
         4          A.     Not entirely, no.      And it was evident
         5    that he had that as a concern because he had said
         6    things like, "Are you going to arrest me?"            But my
         7    understanding of what that looked like in his mind
         8    is not clear.
         9          Q.     And regardless of what was in his mind or
       10     not, that was something that you believed you
       11     communicated in your interactions with him, that he
       12     would be under arrest for something?
       13           A.     Yes.
       14           Q.     And you then say, "We've got time."
       15                           Do you recall that in the clip we
       16     played?
       17           A.     I do.
       18           Q.     What did you mean by that?
       19           A.     That there was nothing exigent in that
       20     particular moment in time that required us to walk
       21     over to the door right then, kick it down, chase him
       22     into a back room, and take him into custody.
       23           Q.     I see.    So there wasn't any urgent need
       24     at that time to enter the house and grab him?
       25           A.     At that particular moment, with him
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         1    that occurred.
         2          A.     At that point in time?
         3          Q.     Yeah.    How did the events unfold leading
         4    to you chasing him in the house?
         5          A.     Mr. Burnett comes out of the house.          He
         6    is wearing that Maple Leafs jersey.          He engages us
         7    in conversation.      We approach.     Fleming is with me.
         8    I think Daigle is a little bit farther back.
         9    Officer Barth is I think to the left side of the --
       10     if you're looking at it, the front door.
       11                           I am attempting to get Mr. Burnett
       12     to come closer to me.       I whisper something to the
       13     effect of, "Are you ready," to Officer Fleming.             I
       14     was aware that he had injured his ankle or knee, or
       15     he was -- he had some sort of ailment that he had
       16     told me about earlier or the previous day, so I
       17     wanted to make sure that he was physically capable
       18     of engaging in a struggle.        He told me he was.
       19                           So when we got to the point where
       20     I felt I was close enough to Mr. Burnett and he was
       21     far enough away from the door so that we would
       22     either be able to beat him to the door, so get to
       23     the door before he could get back inside, or we
       24     would be close enough on his heels so that he
       25     wouldn't be able to close the door behind him, when
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         1    we were at that point, I made a move to arrest him.
         2          Q.      And what do you mean by made a move?
         3    What specifically did you do to arrest him at that
         4    point?
         5          A.      I changed my momentum from a casual walk
         6    to running as fast as I could after him.
         7          Q.      Other than whispering to Officer Fleming,
         8    did you say anything to Mr. Burnett at that point?
         9          A.      At that point, I believed it would be
       10     ineffective and would alert him to the chase.             And
       11     if I were to say, "Hey, you need to come with us
       12     now," he would simply run back in the residence.             I
       13     was calculating the ability to beat him to the door
       14     off of counting on his delayed reaction time to my
       15     immediate change of stride.
       16           Q.     So no, you did not say anything to him at
       17     that point?
       18           A.     Correct.
       19           Q.     You didn't say, "You're under arrest," or
       20     "Stop," or anything else?
       21                      MR. LAMPHERE:     Objection.     Form.
       22                           You can answer.
       23           A.     Within seconds all of those commands were
       24     coming out.     The -- again, the idea was to not give
       25     him that, a little bit of reaction time necessary,
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         1    to get back inside.
         2          Q.     But the first time you issued commands to
         3    him was inside the house?
         4          A.     I believe so, yes.
         5          Q.     Okay.    So you pick up your momentum, as
         6    you said, and are running towards Mr. Burnett.            What
         7    happens next?
         8          A.     He immediately turns and runs inside.
         9          Q.     And how did you get inside Mr. Burnett's
       10     home?
       11           A.     He begins to try and close the door, so I
       12     turned a little sideways and directed my momentum
       13     and upper body weight onto the door, to push through
       14     the door before he could close it.
       15           Q.     So you pushed it with your left side or
       16     left shoulder?
       17           A.     I believe so.
       18           Q.     And then what do you recall happening
       19     next?
       20           A.     At that point it gets pretty chaotic
       21     because Mr. Burnett shows no signs of complying with
       22     our ability to take him -- or, you know, our orders
       23     to take him into custody.        He is -- was a large man,
       24     very tall, had a fair amount of a weight advantage,
       25     so -- and he was actively fighting, like with all of
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         1    his strength it felt like.
         2                          I ended up taking his left arm.
         3    And for the majority of the time of the struggle,
         4    while we were trying to place him in handcuffs, the
         5    left arm was my priority.        We -- he went to the
         6    ground pretty quickly.       We ordered him to the
         7    ground, but it -- he -- he went because we took him
         8    to the ground.
         9                          But because he was big, strong, we
       10     weren't able to quickly get him into handcuffs.             So
       11     he kind of was moving around, and all of us were
       12     moving with him as he was struggling on the ground.
       13           Q.     So you recall ordering him to the ground?
       14           A.     I do.
       15           Q.     Do you recall any other commands to
       16     Mr. Burnett?
       17           A.     Commands that I made specifically, I
       18     don't recall.     They would likely be -- I mean, they
       19     would be on the body-worn camera.          I recall hearing
       20     numerous orders from Officer Fleming, similar, "Get
       21     on the ground.     Stop resisting."      These kinds of
       22     orders.
       23                           Mr. Burnett was cursing and in
       24     some way or form saying that he was not going to
       25     comply.    There is a point where he's twisting his
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         1    body, we're all kind of on the floor with him, and
         2    it looks like he's going for Officer Fleming's gun.
         3    Officer Fleming was kind of closer to his upper
         4    torso, and he made a movement towards that way.
         5    That was very concerning to me.
         6                          I remember Officer Barth deploying
         7    the taser.     I remember hearing it.       It was
         8    ineffective.     I mean, the idea of the taser is to
         9    get full lockup so that the nerve -- you know, so
       10     the body can't move at all, and then that way the
       11     resistance stops and provides the officer enough
       12     time to get the handcuffs on.         She deployed the
       13     taser twice during this struggle, and neither one
       14     gained the compliance that we were hoping for, the
       15     lockup we were hoping for, so that we could get him
       16     safely into handcuffs.
       17           Q.     So you're struggling on the floor with
       18     Mr. Burnett.     Do you eventually get him handcuffed?
       19           A.     We do.    I'm on that left arm, and I think
       20     it took maybe all three of them, but two of them to
       21     get the right arm behind his back.          And then once
       22     they had that cuffed, we were able to get that left
       23     arm back there as well.
       24           Q.     And then what do you recall happening
       25     next after that?
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         1    officer's body that are placed on Mr. Burnett's back
         2    to control his movement.
         3           Q.    And is Mr. Burnett resisting your efforts
         4    to put the flex cuffs on him?
         5           A.    Yes.
         6           Q.    What is he doing?
         7           A.    Basically, he's tensing and pulling his
         8    legs up off the floor by bending at the knee, to
         9    keep me from holding them still enough to place the
       10     flex cuffs on his ankles.
       11                      MR. BOHNET-GOMEZ:      All right.     We
       12     paused Exhibit 11 at 50 minutes and 57 seconds.             Why
       13     don't we keep playing that through for a bit.
       14                           (Video played.)
       15                      MR. BOHNET-GOMEZ:      All right.     Let's
       16     pause.
       17            Q.    We paused at 52 minutes, 29 seconds of
       18     Exhibit 11.
       19                           Lieutenant, can you describe what
       20     you were doing in that portion of the video we just
       21     saw?
       22            A.    During that time I am placing the flex
       23     cuffs on his ankles.       Initially he is struggling.
       24     Towards the end it looks as if there's less of a
       25     struggle with his legs.       I am able to successfully
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         1    place the flex cuffs on his ankles.
         2           Q.    And can you describe the position of
         3    Mr. Burnett's body during this time?
         4           A.    So at this particular frame, where we've
         5    paused, he has the left leg up a little bit.            So
         6    he's mostly prone, but it looks like he's got his
         7    weight primarily on his right side.
         8           Q.    And at the particular point where we
         9    paused, it seems like you finished putting the flex
       10     cuffs on him, correct?
       11            A.    Yes.
       12            Q.    And now you're standing up, and can you
       13     describe what you recall doing from this point on?
       14            A.    From this point, we make the decision
       15     that we're not going to try and get him out of the
       16     residence until medical arrives on scene.           Medical
       17     was called earlier, shortly after the taser
       18     deployment, as is part of our policy.
       19                           So knowing they were en route, we
       20     chose to mitigate any further struggle with him
       21     prior to medical arriving by leaving him where he
       22     was.
       23            Q.    As part of your training, are you trained
       24     regarding placing individuals into a recovery
       25     position after a struggle?
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         1    that he will, but then he says he won't.
         2                          He has some expletives in there.
         3    The officers are attempting to control his upper
         4    body.       Officer Fleming discusses we were trying to
         5    do this the easy way.       Now we're doing it the hard
         6    way.
         7                          Mr. Burnett continues to struggle,
         8    after repeated times of being told stop resisting.
         9    It looks like Officer Fleming -- and this is
       10     partially based on my knowledge after the fact,
       11     because it's not entirely evident in the video, but
       12     I can see it because I know it does happen.            He does
       13     deliver some knee strikes as an effort to gain
       14     compliance.      After one of them, you can hear
       15     verbally Mr. Burnett saying, "Okay.          I've stopped."
       16     But his behavior doesn't change.         He continues to
       17     resist.
       18                           The officers are not on top of
       19     him.    They are controlling the portions of his body
       20     to prevent him from getting back up, such as the
       21     arms and the shoulders.
       22            Q.      So you said you learned after the fact
       23     that there were some knee strikes --
       24            A.      Correct.
       25            Q.      -- delivered to Mr. Burnett.       Can you
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         1    that particular part of his body.
         2          Q.     Uh-huh.    And this was not -- you weren't
         3    able to see this in realtime because of where you
         4    were standing, right?
         5          A.     Correct.    At this point I believe most of
         6    my attention is on his legs, trying not to get
         7    kicked.
         8          Q.     Right.
         9                     MR. BOHNET-GOMEZ:      Okay.    Let's keep
       10     playing for a while longer.
       11                           (Video played.)
       12                      MR. BOHNET-GOMEZ:      Okay.    Let's pause
       13     here for a bit.
       14           Q.     We paused at an hour, 36 minutes,
       15     42 seconds of Exhibit 9.
       16                           Lieutenant, what do you observe in
       17     the last clip we watched?
       18                      MR. LAMPHERE:     Objection.     Form.
       19     Foundation.
       20                           You can answer.
       21           A.     Mr. Burnett is no longer resisting.
       22     Officers, including myself, are still in a position
       23     to readily control his body, should he immediately
       24     start resisting.
       25                           It sounds as if he's breathing
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         1    pretty heavily at this point.         I'm not sure if
         2    that's him or if it's an officer.          It sounds like it
         3    might be him.     I'm not positive.      He is lying
         4    semi-prone on -- kind of more on the right side of
         5    his body, as he was earlier.
         6                           It looks like Officer Daigle has
         7    lightly placed his hand on Mr. Burnett's back to
         8    basically sense movement and be ready to respond
         9    should Mr. Burnett choose to start resisting again.
       10     Officer Fleming is controlling the left arm.
       11           Q.     Did you hear yourself speak in the video
       12     we just watched?
       13           A.      I did.
       14           Q.     If I understood you correctly, you
       15     indicated that you would be taking Mr. Burnett out
       16     to the car; is that right?
       17           A.     We would -- I indicated we would be
       18     carrying him.     I don't recall if this was the point,
       19     if we had -- if that was in preparation for once the
       20     ambulance got there or if we had made that
       21     determination yet.
       22           Q.      Uh-huh.
       23           A.     I also was concerned that should he start
       24     fighting again, he might be able to break the flex
       25     cuffs.     So I know we had some straps that we put in
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         1                        REPORTER'S CERTIFICATE
         2                  I, LEEANN L. STELLOR, Registered Merit
         3    Reporter and Certified Realtime Reporter within
         4    Colorado, ID 200401669, appointed to take the
         5    deposition of LIEUTENANT MICHAEL INAZU, do hereby
         6    certify that before the deposition he was duly sworn by
         7    me to testify to the truth; that the deposition was
         8    taken by me then reduced to typewritten form herein;
         9    that the foregoing is a true transcript of the
       10     questions asked, testimony given and proceedings had.
       11
       12                   I further certify that I am not related to
       13     any party herein or their Counsel, and have no interest
       14     in the result of this litigation.
       15
       16                   In witness hereof I have hereunto set my
       17     hand this 6th day of July, 2023.
       18
       19                                   _______________________
                                            Leeann L. Stellor
       20                                   Registered Merit Reporter
                                            Certified Realtime Reporter
       21                                   and Notary Public
       22
       23     My commission expires June 8, 2024
       24
       25
